          Case 1:23-cv-00703-JMC Document 7 Filed 04/14/23 Page 1 of 1
                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND
                                            *
John C Dixon                                *
                             Plaintiff(s)   *
                                            *
                       vs.                  *    Civil Case No.: 1:23−cv−00703−JMC
                                            *
LGX Services LLC                            *
                             Defendant(s)   *



                                   SHOW CAUSE ORDER


      Pursuant to Standing Order 2018−04, this case was assigned to a United States
Magistrate Judge for all proceedings and each party was notified to file a consent or
declination within fourteen (14) days after service and entry of appearance. John C Dixon
has not filed a consent or declination and more than fourteen (14) days have passed since
notice was issued. Thereby, it is hereby
       ORDERED that John C Dixon is to appear before the designated Chambers Judge
on 5/26/2023 at 2:00 p.m. to show cause, if any, why John C Dixon did not file a consent
or declination. John C Dixon should proceed to the Clerk's Office to determine the location
of the hearing on the scheduled date; and it is further
      ORDERED that this Order shall be vacated if John C Dixon files a consent or
declination prior to the show cause hearing date.



Date: April 14, 2023                             _____________/s/______________
                                                 J. Mark Coulson
                                                 United States Magistrate Judge
